Case 2:09-cr-00015-EFS   ECF No. 2820   filed 07/26/11   PageID.15937 Page 1 of 5
Case 2:09-cr-00015-EFS   ECF No. 2820   filed 07/26/11   PageID.15938 Page 2 of 5
Case 2:09-cr-00015-EFS   ECF No. 2820   filed 07/26/11   PageID.15939 Page 3 of 5
Case 2:09-cr-00015-EFS   ECF No. 2820   filed 07/26/11   PageID.15940 Page 4 of 5
Case 2:09-cr-00015-EFS   ECF No. 2820   filed 07/26/11   PageID.15941 Page 5 of 5
